
In re Rheem Manufacturing Co.;—Defendant/s); applying for supervisory and/or remedial writs; Parish of Calcasieu, 14th Judicial District Court, Div. “G”, No. 92-440; to the Court of Appeal, Third Circuit, No. CW96-0150.
Granted. Ruling of trial judge vacated and set aside. Relator’s motion for partial summary judgment is granted, dismissing plaintiffs’ claim against it for punitive damages under La.Civ.Code art. 2315.3. La. Code Civ.P. arts. 1915A(3) and 966A. See Chustz v. J.B. Hunt Transport Inc., 662 So.2d 450 (La.1995).
LEMMON, J., would grant and docket.
